    Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 1 of 8            FILED
                                                                      2022 Jan-07 PM 11:39
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


         IN THE UNITED STATES DISTRICT COURT FOR
            THE NORTHERN DISTRICT OF ALABAMA
                    SOUTHERN DIVISION

AMERICA’S FRONTLINE           )
DOCTORS, et al,               )
                              )
Plaintiffs,                   )
                              )
              v.              )            Case No. 2:21-cv-702-CLM
                              )
The UNITED STATES OF AMERICA, )
et al,                        )
                              )
Defendants.                   )




                             EXHIBIT 5
    Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 2 of 8




                           IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF ALABAMA


AMERICA’S FRONTLINE DOCTORS, INC.,
a 501C3 Organization; DR. DAVID CALDERWOOD, an
individual; JOSEPH MAKOWSKI, an individual; LYLE BLOOM,
an individual; ELLEN MILLEN, an individual; JODY SOBCZAK,
an individual; MICHAEL NELSON, an individual; and JOSEPH
LEAHY, an individual;

           Plaintiffs,
   vs.

the UNITED STATES OF AMERICA; JOSEPH R. BIDEN, JR., in
his official capacity as President of the United States; XAVIER
BECERRA, Secretary of the U.S. Department of Health and
Human Services, in his official capacity, DR. ANTHONY
FAUCI, Director of the National Institute of Allergies and           Civil Action No.
Infectious Diseases, in his official capacity, DR. JANET           2:21-cv-00702-CLM
WOODCOCK, Acting Commissioner of the Food and Drug
Administration, in her official capacity, U.S. DEPARTMENT
OF HEALTH AND HUMAN SERVICES; the FOOD AND DRUG                     DECLARATION OF
ADMINISTRATION; the CENTER FOR DISEASE CONTROL AND                 Dr. Henry L. Ealy, III
PREVENTION; the NATIONAL INSTITUTE OF HEALTH; the
NATIONAL INSTITUTE OF ALLERGIES AND INFECTIOUS
DISEASES; and DOES I-X

         Defendants.
_______________________________________

                                        DECLARATION

   I, Henry L. Ealy III, declare as follows.

1. I hold a Doctorate in Naturopathic Medicine, a Bachelor of Science in Mechanical
   Engineering, and I have worked professionally on the International Space Station project
   as both a lead database developer and data analyst.
    Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 3 of 8




2. I am the founder of the Energetic Health Institute and the lead researcher and author
   for the COVID Research Team.

3. The COVID Research Team collects, analyzes, and publishes our data analysis,
   investigative research, and key findings of this evolving crisis on a weekly basis. We
   began reporting on March 12, 2020, and have been consistent in our weekly research
   and publication since the inception of our work together in early 2020.

4. Our publications include 2 peer-reviewed investigational manuscripts COVID-19 Data
   Collection, Comorbidity & Federal Law: A Historical Retrospective and the 444 page
   peer-reviewed position statement COVID-19: Restoring Public Trust During A Public
   Health Crisis.

5. Based upon my professional experience and extensive knowledge of the published data
   and peer-reviewed research, I am uniquely qualified to provide expert testimony that I
   believe to be of the highest accuracy and integrity, and can also be independently
   verified.

6. I routinely collect, analyze, and publish data on the following topics:

•   Infective Spread Data Analysis - Cases, Deaths, Recoveries, Odds Of Dying - By Age
•   Data Source - https://covid.cdc.gov/covid-data-tracker




•   Vaccine Breakthrough Data Analysis
•   Data Source – All State Public Health Departments Currently Publishing Data
•   Please See Attached December 2021 Full Analysis with Citations
    Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 4 of 8




•   Vaccine Adverse Events Reporting System (VAERS) Data Analysis
•   Data Source - https://wonder.cdc.gov/vaers.html




7. The Vaccine Adverse Events Reporting System (VAERS) has a one-week delay in data
   publishing.

8. What this means is that for data made available to the public on January 7, 2022, the
   data being published only totals through what is known on December 31, 2021.

9. Additionally, we do not know if data backlogs exist. So, the data available is incomplete.
       Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 5 of 8




10. For data released on January 7, 2022, but collected through December 31, 2021, we
    know the following:

   •     Based upon my independent analysis of the data provided, at least 21,382 deaths
         have occurred in the United States directly attributed to the experimental COVID
         inoculations.

   •     Additionally, at least 6,445 of the 21,382 deaths have occurred within 48 hours of
         inoculation, which is a safety signal that suggests definitive causation in these cases.

   •     Finally, when analyzing the data available in VAERS it is very concerning that a
         significant percentages of deaths (38.0%) are entered with an ‘Unknown Age’.

11. This is significant because under Emergency Use Authorization, medical providers are
    required by law to report all adverse events, including death, to VAERS, so the vast
    majority of these records are entered by medical providers.

12. “The reporting requirements for COVID-19 vaccines are the same for those authorized
    under emergency use or fully approved. Healthcare providers who administer COVID-19
    vaccines are required by law to report the following to VAERS:

   •     Vaccine administration errors, whether or not associated with an adverse event
         (AE).
             o If the incorrect mRNA COVID-19 vaccine product was inadvertently
                administered for a second dose in a 2-dose series, VAERS reporting is
                required.
             o If a different product from the primary series is inadvertently administered
                for the additional or booster (third dose), VAERS reporting is required.
             o VAERS reporting is not required for the following situations:
                     If a mixed series is given intentionally (e.g., due to hypersensitivity to
                        a vaccine ingredient)
                     Mixing and matching of booster doses (as of October 21, 2021, mixing
                        and matching of booster doses is allowed)
   •     Serious AEs regardless of whether the reporter thinks the vaccine caused the AE.
         Serious AEs per FDA are defined as:
             o Death
             o A life-threatening AE
             o Inpatient hospitalization or prolongation of existing hospitalization
             o A persistent or significant incapacity or substantial disruption of the ability to
                conduct normal life functions
             o A congenital anomaly/birth defect
        Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 6 of 8




             o   An important medical event that based on appropriate medical judgement
                 may jeopardize the individual and may require medical or surgical
                 intervention to prevent one of the outcomes listed above
    •     Cases of Multisystem Inflammatory Syndrome
    •     Cases of COVID-19 that result in hospitalization or death

    https://vaers.hhs.gov/reportevent.html


13. If we reduce data analysis to the case reports available in VAERS, we can prove that at
    least 21,282 deaths have occurred in connection with administration of the
    experimental COVID inoculations.

14. However, it was known prior to COVID that less than 1% of actual vaccine related
    injuries were reported to VAERS by medical providers even though they are required to
    report by law all vaccine injuries.

15. “Adverse events from drugs and vaccines are common but underreported. Although
    25% of ambulatory patients experience an adverse drug event, less than 0.3% of all
    adverse drug events and 1-13% of serious events are reported to the Food and Drug
    Administration (FDA). Likewise, fewer than 1% of vaccine adverse events are
    reported.”
    https://digital.ahrq.gov/sites/default/files/docs/publication/r18hs017045-lazarus-final-
    report-2011.pdf

16. While this is certainly a significant finding, it is difficult to reasonably conclude, from this
    alone, that less than 1% of experimental COVID inoculation injuries are being reported
    due to the legal requirement to report and additional pressure created by this
    unrelenting crisis.

17. Therefore, we are forced to seek additional analysis to determine what level of
    underreporting is currently taking place.

18. For that my research has taken me to two extremes of underreporting for analysis.

19. Looking at the potential high end of the extreme of underreporting for analysis, my
    research points to the Columbia University study published by Pantazatos and
    Seligmann.
    Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 7 of 8




20. “Comparing our estimate with the CDC-reported VFR (0.002%) suggests VAERS deaths
    are underreported by a factor of 20, consistent with known VAERS under-
    ascertainment bias.”
    https://www.researchgate.net/publication/355581860_COVID_vaccination_and_age-
    stratified_all-cause_mortality_risk

21. Looking at the potential low end of the extreme of underreporting for analysis, my
    research points to a CMS whistleblower who has provided testimony under penalty of
    perjury to the United States District Court for the Northern District of Alabama. [Case
    2:21-cv-00702-CLM].

22. “Over the last 20 years, she [Jane Doe] has developed over 100 distinct healthcare fraud
    detection algorithms for use in the public and private sectors. In her expert opinion,
    VAERS under-reports deaths caused by the Vaccines by a conservative factor of at
    least 5.”

23. As a result, this provided me a reasonable range with which to establish the extent of
    VAERS underreporting in order to better understand the likely scope of actual deaths
    related to the experimental COVID inoculations.

24. That range of underreporting is by a factor of 5 to 20 times.

25. Extrapolating the Columbia University study and the sworn testimony of Jane Doe
    whistleblower, who has 20 years of experience detecting healthcare fraud, it is
    reasonable to arrive at the following conclusions:

   •   Underreporting to VAERS is occurring.

   •   Adjusting for underreporting could mean that VAERS deaths as of December 31,
       2021 could be as high as 21,382 x 20 = 427,640 deaths overall.

   •   Additionally, VAERS deaths within 48 hours post inoculation, as of December 31,
       2021, could be as high as 6,445 x 20 = 128,900 deaths within 48 hours post
       experimental COVID inoculation.

   •   Adjusting for underreporting could mean that VAERS deaths as of December 31,
       2021 could be as low as 21,382 x 5 = 106,910 deaths overall.
        Case 2:21-cv-00702-CLM Document 43-5 Filed 01/07/22 Page 8 of 8




       •   Additionally, VAERS deaths within 48 hours post inoculation, as of December 31,
           2021, could be as low as 6,445 x 5 = 32,225 deaths within 48 hours post
           experimental COVID inoculation.

   26. Further, I reviewed the 5.3.6 CUMULATIVE ANALYSIS OF POST-AUTHORIZATION
       ADVERSE EVENT REPORTS OF PF-07302048 (BNT162B2) RECEIVED THROUGH 28-FEB-
       2021 published by Pfizer, for the benefit of its Regulatory Agencies, among others, in
       which they review post adverse event data for their experimental COVID inoculation
       from its temporary emergency use authorization in December 2020 through February
       28, 2021. In that brief timespan, Pfizer reported 1223 deaths and 9,400 unknown
       outcomes, along with 11,361 more who were “not recovered” at time of report.

   27. Adjusting for underreporting, as above, means that the range of fatalities from the
       Pfizer injection alone was between 6,115 and 24,460. All fatalities occurred in less than
       3 months and without factoring in fatalities from the other two manufacturers during
       the same time range.

   28. Adjusting for underreporting, as above, means that the range of unknown outcomes
       from the Pfizer injection alone was between 47,000 and 188,000. All in less than 3
       months and without factoring in unknown injuries from the other two manufacturers
       during the same time frame.

       I declare under the penalty of perjury that the foregoing is true and correct to the best
of my information, knowledge and belief.

       Dated: January 07, 2022

                                     _______________________________________
                                     HENRY L. EALY, III, N.D.
                                     Founder, Energetic Health Institute
                                     Lead Researcher & Author, COVID Research Team
